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5
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6
                                      UNITED STATES DISTRICT COURT
7                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                           AT SAN FRANCISCO
8
     _________________________________________
9     FOOD & WATER WATCH, et al.,              )
                                               )             Civ. No. 17-CV-02162-EMC
10                            Plaintiffs,      )
                  vs.                          )             DECLARATION OF MICHAEL
11                                             )             CONNETT IN SUPPORT OF
      U.S. ENVIRONMENTAL PROTECTION            )             PLAINTIFFS’ MOTION TO LIFT THE
12    AGENCY, et al.                           )             STAY AND TAKE THE CASE OUT OF
                                               )             ABEYANCE
13                            Defendants.      )
                                               )
14                                             )
                                               )
15
16          I am the lead attorney for Plaintiffs in the above-captioned case. I make this statement based on
17
     personal knowledge and I am competent to testify to the matters stated herein.
18
            1.      On February 22, 2022, I was informed by an individual with knowledge of the National
19
     Toxicology Program’s (NTP) proceedings on fluoride that NTP had received “all” of the peer review
20
21   comments on its “State of the Science” report, and that “the target for posting the monograph is the first

22   week in April.”

23          2.      On April 11, 2022, I was informed by the aforementioned individual that NTP was now in
24   the “phase” of “compiling comms materials.”
25
            3.      On May 11, 2022, I was informed by the aforementioned individual that the NTP’s final
26
     report would be released on May 18, 2022, just seven days away.
27
            4.      The NTP did not release its final report on May 18, 2022, and still has not released it.
28
                                                   1
                                       DECLARATION OF MICHAEL CONNETT
          Case 3:17-cv-02162-EMC Document 306-1 Filed 09/12/22 Page 2 of 86



            5.      In July 2022, I was informed by the aforementioned individual that NTP’s report had been
1
     submitted for an “inter agency review,” that the review process had no identified date for completion, and
2
3    that there was no longer an estimated date for when NTP would release the report. Based on the individual’s

4    description of the inter agency review, I understand it will include the Centers for Disease Control (CDC)
5    and National Institutes of Dental & Craniofacial Research (NIDCR).
6
            6.      Attached as Exhibit A is a September 18, 2020 presentation by Dr. Brian Berridge, NTP’s
7
     Scientific Director, that explains the revisions that NTP made to its monograph based on the peer review
8
     input from NASEM, and how these revisions further strengthened NTP’s conclusion that fluoride is a
9
10   neurotoxicant. I obtained this presentation from the National Institute of Environmental Health Sciences

11   (“NIEHS”) under the Freedom of Information Act.

12          7.      Attached as Exhibit B are true and correct excerpts of the revised systematic review
13   that the NTP released in September 2020. (A full copy of this report is available at ECF No. 270-4.)
14
            8.      Attached as Exhibit C is a true and correct copy of a January 4, 2022 email I received from
15
     Debra Carfora, an attorney for the Department of Justice. At the time, Ms. Carfora served as counsel for
16
     EPA in this litigation.
17
18          9.      Attached as Exhibit D are true and correct excerpts of a deposition I took of the Center for

19   Disease Control’s 30(b)(6) representative, Casey Hannan, on November 6, 2018.

20          10.     Attached as Exhibit E is a true and correct copy of an email that I received from NIDCR
21
     under the Freedom of Information Act.
22
            11.     Attached as Exhibit F is a true and correct copy of an email that I received from NIEHS
23
     under the Freedom of Information Act.
24
            12.     Attached as Exhibit G is a true and correct copy of an email that I received from NIDCR
25
26   under the Freedom of Information Act.

27          13.     Attached as Exhibit H is a true and correct copy of an email that I received from NIEHS
28
                                                   2
                                       DECLARATION OF MICHAEL CONNETT
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     under the Freedom of Information Act.
1
            14.     Attached as Exhibit I is a true and correct copy of an email that I received from NIDCR
2
3    under the Freedom of Information Act.

4           15.     Attached as Exhibit J is a true and correct copy of an email that I received from NIDCR
5    under the Freedom of Information Act.
6
            16.     Attached as Exhibit K is a true and correct copy of an email that I received from NIDCR
7
     under the Freedom of Information Act.
8
            17.     Attached as Exhibit L is a true and correct copy of a letter that I downloaded from the
9
10   American Dental Association’s website.

11          18.     Attached as Exhibit M is a true and correct copy of a FOIA complaint that I filed on behalf

12   of Plaintiff Kristin Lavelle in the Northern District of California on September 9, 2022. In the civil cover
13   sheet that I filed with this Complaint, as well as in the Declination of the Magistrate Judge, I identified the
14
     instant action as a related case due to the overlapping factual issues and the potential for added efficiency
15
     if both actions were consolidated (in whole or in part).
16
            19.     Attached as Exhibit N is a true and correct copy of an August 30, 2022 email I received
17
18   from Brandon Adkins, an attorney from the Department of Justice who represents EPA in this litigation.

19          I declare under penalty of perjury that the foregoing is true and correct.

20          Executed on September 12, 2022 in Exeter, New Hampshire.
21
                                                    /s/ Michael Connett
22                                                  MICHAEL CONNETT
                                                    Attorney for Plaintiffs
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24
25
26
27
28
                                                    3
                                        DECLARATION OF MICHAEL CONNETT
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                       Exhibit A
   Briefing to OASH and OSG on
Revised NTP Monograph on Fluoride
              Brian R. Berridge, DVM, PhD, DACVP
  NTP Associate Director and Scientific Director, Division of the National
 Toxicology Program, National Institute of Environmental Health Sciences

                           September 18, 2020
                                                                             Case 3:17-cv-02162-EMC Document 306-1 Filed 09/12/22 Page 5 of 86
                                                                      Outline

• Background to revised NTP monograph

• Methods

• Peer review of draft managed by National Academies (NASEM)

• NTP enhanced the monograph in response to peer review

• Communication plan and stakeholder implications




                                                    Internal deliberative - confidential
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Case 3:17-cv-02162-EMC Document 306-1 Filed 09/12/22 Page 7 of 86
                              Background to revised NTP monograph
• NTP conducted a systematic review of the published scientific literature to
  assess whether fluoride exposure is associated with neurodevelopmental
  and cognitive effects
   – Previously (2016) NTP completed a systematic review of experimental animal
     literature

   – Sept 6, 2019 draft extended systematic review to new animal literature, and human
     and mechanistic literature

   – Developed using established systematic review methods

   – National Academy of Science, Engineering and Medicine (NASEM) committee
     reviewed the Sept 6, 2019 draft at Nov 2019 meeting, report issued March 2020

   – Revised September 2020 draft to be released by NASEM for public comment week of
     Sept 21


                                                                Internal deliberative - confidential
                                                                                                   Case 3:17-cv-02162-EMC Document 306-1 Filed 09/12/22 Page 8 of 86
                   Conclusions of Sept 6, 2019 systematic review
• NTP concludes that fluoride is presumed to be a cognitive neurodevelopmental
  hazard to humans
    – Based on a consistent pattern in human studies showing that higher fluoride exposure
      is associated with lower IQ or other cognitive impairments in children across multiple
      populations
• When focusing on findings from studies with exposures approximating those
  found in the United States (0.03 to 1.5 ppm in drinking water) effects on cognitive
  neurodevelopment are inconsistent and unclear
• There is inadequate evidence to determine whether fluoride exposure lowers IQ
  or impairs cognitive function in adults
• The evidence from animal studies is inadequate to inform conclusions on
  cognitive effects
• Mechanisms underlying fluoride-associated cognitive neurodevelopmental
  effects are not well characterized                     Internal deliberative - confidential
                                                                                               Case 3:17-cv-02162-EMC Document 306-1 Filed 09/12/22 Page 9 of 86
                 NASEM charge and response – November 2019
Sept 6, 2019 Draft Monograph
• NTP asked the National Academies of Science, Engineering and Medicine
  (NASEM) to convene a committee to peer review the monograph
   – The committee evaluated whether the evidence as presented in the monograph
     supported NTP’s conclusions
   – The committee did not conduct a data audit or independent evaluation of the evidence
   – However, they did review key literature to enable its review of the monograph


• Comments centered around systematic review conduct, animal and human
  literature evaluations (available in response to comments document)
   – Revisions to the monograph have addressed all three areas
   – Today’s briefing focuses on responses to human epidemiology section

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Case 3:17-cv-02162-EMC Document 306-1 Filed 09/12/22 Page 11 of 86
                                      NEW – More human studies identified
Additional human studies support Sept 6, 2019 draft conclusion
• Conclusion based on consistent evidence of an association in children across
  multiple populations (Canada, Mexico, China, India and Iran)

   – 17 of 19 high quality/low risk of bias studies report association between higher fluoride
     exposure and lower IQ in children

     •   3 North American prospective cohort studies with repeated maternal urinary fluoride measures and
         post-natal fluoride intake show relatively large magnitudes of effect (3-5 IQ points per 1 mg/L)

     •   14 cross-sectional studies (11 where exposure preceded outcome), also show consistent
         association between fluoride exposure and lower IQ

   – 9 high quality studies report some evidence of an association between fluoride exposure
     and other cognitive impairments in children

• Supported by sensitivity analyses, consistency of effects among low quality studies
  (41 of 47 reported an association between fluoride exposure and lower IQ)
                                                                          Internal deliberative - confidential
                                                                                                             Case 3:17-cv-02162-EMC Document 306-1 Filed 09/12/22 Page 12 of 86
                          NEW – Meta-analysis and dose response

• Two-part meta-analysis
   – Analysis 1: Conduct meta-analysis of studies comparing mean IQ scores
     between groups of children with different levels of fluoride exposure (e.g.,
     “high” exposure vs “low” exposure)

   – Analysis 2: Conduct meta-analysis using studies with individual level
     measures of fluoride exposure and IQ

• Dose-response meta-analysis
   – At all exposure levels and <1.5 mg/L, <2 mg/L




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                      NEW – Analysis 1: Group level meta-analysis

• Two previous meta-analyses (Choi et al. 2012 and Duan et al. 2018) compared mean
  IQ in groups of children
   – Living in areas with “high” exposure to fluoride vs. living in areas with “low” exposure
     to fluoride

   – Neither assessed study quality

• Both estimated a pooled standardized mean difference (SMD)
   – Used as a summary statistic used in meta-analysis

   – Ratio of observed difference in means relative to an estimate of the standard
     deviation of the response

• Analysis 1 also estimated a pooled SMD and 95% confidence intervals

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                  NEW – Analysis 2: Individual-level meta-analysis

• Individual level exposure meta-analysis included studies with individual-level
  exposures
   – Urine, water, estimated fluoride intake

   – Reported effect estimates as beta coefficients with 95% CI or standard error

• All studies included in this meta-analysis were considered high quality

• Confounder adjusted effect estimates were used

• Developed an overall pooled effect estimate for every 1-mg/L (equivalent to
  1 ppm) unit increase in exposure




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                                                                  NEW – Meta-analysis
New analyses support draft conclusions of “presumed”
• Demonstrate consistent and robust results that fluoride exposure is associated with
  lower IQ across study populations that differ by study location and level of exposure

• Based on our meta-analysis of n=6 high quality studies with individual level measures,
  the magnitude of the effect is small but statistically significant

   – Decrease in IQ of 1.40 points (95% CI: -2.33, -0.47) per 1 mg/L increase in urinary fluoride
     exposure

• Dose response assessment confirms that findings from studies with exposures found
  in drinking water in the United States (0.7 mg/L for optimally fluoridated water
  systems), effects on cognitive neurodevelopment are inconsistent and unclear

   – However, there are statistically significant negative effects at <2 mg/L in water

   – More high-quality studies at lower exposure levels are needed

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                                                                                                           Case 3:17-cv-02162-EMC Document 306-1 Filed 09/12/22 Page 20 of 86
                               NTP UPDATE – Draft hazard conclusions

• This review only addresses whether exposure to fluoride could present a potential
  hazard (i.e., potential to cause harm at any exposure level)

    – Benefits with respect to oral health are not addressed

• When focusing on findings from studies with exposures in ranges typically found in the
  United States (0.7 mg/L for optimally fluoridated water systems), that can be evaluated
  for dose response, effects on cognitive neurodevelopment are inconsistent and
  therefore unclear

• When considering all the evidence, including studies with exposures to fluoride levels
  >1.5 mg/L in water, NTP concludes that fluoride is presumed to be a cognitive
  neurodevelopmental hazard to humans
   – Based on a pattern of consistent and robust evidence of an association between higher fluoride
     exposure in children across multiple populations (Canada, Mexico, China, India and Iran)

    – Supported by new meta-analysis and dose-response assessment
                                                                     Internal deliberative - confidential
                                                                                                        Case 3:17-cv-02162-EMC Document 306-1 Filed 09/12/22 Page 21 of 86
         NTP UPDATE – Draft hazard conclusions (continued)


• There is inadequate evidence to determine whether fluoride exposure lowers IQ
  or impairs cognitive function in adults

• The evidence from animal studies is inadequate to inform conclusions on
  cognitive effects

• Mechanisms underlying fluoride-associated cognitive neurodevelopmental
  effects are not well characterized




                                                       Internal deliberative - confidential
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                                                      Overall Summary


• NTP appreciated the NASEM comments

• In response, extensive revisions have been made to the monograph

• This has strengthened the monograph and reconfirmed the draft hazard
  conclusions reached in the September 6, 2019 version




                                                      Internal deliberative - confidential
                                                                                         Case 3:17-cv-02162-EMC Document 306-1 Filed 09/12/22 Page 23 of 86
                                                   Communication Plan
• Briefings on revised NTP monograph – Aug 2020
   – NIH/Office of Director
   – NIH/National Institute for Dental and Craniofacial Research
   – NTP partners (FDA, NIOSH)
   – CDC Division of Oral Health

• Sent draft of monograph to federal technical review group- Aug 2020

• Briefings on revised NTP monograph – Sept 2020
   – OASH and OSG – Sept 18
   – NTP Executive Committee – Sept 22


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                                                       Communication Plan
• Send revised NTP monograph and response to peer-review comments to NASEM
  – Sept 16; public release ~Sept 22

• NASEM peer review of revised NTP monograph
   – Website: https://www.nationalacademies.org/our-work/review-of-the-revised-ntp-
     monograph-on-fluoride-exposure-and-neurodevelopmental-and-cognitive-health-effects

   – Meetings
     • Oct 19, 2020 – open session: 1-2:30 pm, public comment opportunity
      • Nov 9, 2020 – closed meeting

• NASEM peer-review report and committee briefing to NTP – Jan 2021

• Briefing of OASH and OSG – Jan/Feb 2021

• For awareness, ongoing EPA litigation, DOJ inquiries about timing of report
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                                                               Communication Plan

Response statement for media inquiries during 2nd NASEM peer-review

The NTP conducted a systematic review of more than 500 studies and produced a report titled
“Fluoride Exposure and Cognitive Neurodevelopment Health Effects.”

Because there is tremendous public interest in fluoride’s benefits and potential risks, in
November 2019, the NTP asked NASEM to conduct a rigorous scientific evaluation of the draft
report and conclusions. The Academies’ review offered insightful and helpful suggestions for
strengthening NTP’s report.

The NTP enhanced its report by adding the details recommended by NASEM for clarifying
NTP’s analysis and resulting conclusions. The NTP concluded that exposure to fluoride is
“presumed” to be a cognitive neurodevelopmental hazard for children. This was based on
evidence that exposures to high levels of fluoride, e.g. greater than 1.5 ppm in drinking water,
are associated with lower IQ in children.
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                      DRAFT NTP MONOGRAPH ON THE

SYSTEMATIC REVIEW OF FLUORIDE EXPOSURE
     AND NEURODEVELOPMENTAL AND
       COGNITIVE HEALTH EFFECTS*

                                     Revised September 16, 2020

*The September 6, 2019 draft monograph was peer reviewed by a committee convened by the National
Academy of Sciences, Engineering, and Medicine (NASEM). This current draft incorporates changes in
response to that review and is being submitted to the same NASEM committee for an additional round
of peer review.



                             Office of Health Assessment and Translation
                              Division of the National Toxicology Program
                          National Institute of Environmental Health Sciences
                                      National Institutes of Health

                         U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES

                                                  NOTICE:
 This DRAFT Monograph is distributed solely for the purpose of pre-dissemination peer review under the
   applicable information quality guidelines. It has not been formally disseminated by NTP. It does not
          represent and should not be construed to represent any NTP determination or policy.
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ABSTRACT
Background: The overall objective of this evaluation was to undertake a systematic review of published
literature to reach conclusions concerning the potential for exposure to fluoride to affect
neurodevelopment and cognition. The review only addresses whether exposure to fluoride could
present a potential hazard (i.e., has the potential to cause harm, at any exposure level, including
exposures that are higher than those typically encountered from consuming fluoridated drinking water
in the United States). Benefits of fluoride with respect to oral health are not addressed in this
monograph.

Previous reviews of epidemiological studies, including a 2006 evaluation by the National Research
Council (NRC), found support for an association between consumption of high levels of naturally
occurring fluoride in drinking water and adverse neurological effects in humans and recommended
further investigation (NRC 2006). Most of the evidence reviewed was from dental and skeletal fluorosis-
endemic regions that have higher levels of naturally occurring fluoride than the fluoride concentrations
historically added to water in community water fluoridation programs (0.8–1.2 mg/L). For community
water systems that add fluoride, the Public Health Service now recommends a fluoride concentration of
0.7 mg/L.

NTP previously published a systematic review of the evidence from experimental animal studies of the
effects of fluoride on learning and memory (NTP 2016). The systematic review found a low-to-moderate
level of evidence that learning and memory deficits occur in non-human mammals exposed to fluoride.
Studies in animals generally used fluoride drinking water concentrations that far exceeded the levels
used in water fluoridation, and the lack of studies at lower fluoride concentrations was identified as a
data gap. The evidence for effects on learning and memory was strongest (moderate) in animals
exposed as adults, and evidence was weaker (low) in animals exposed during development. Since the
publication of the NTP (2016) systematic review of the animal evidence, additional animal studies have
been published, many examining the effects of perinatal exposures. In addition, the number of studies
examining cognitive and neurobehavioral effects of fluoride in humans has grown considerably since the
NRC (2006) review, including several recent prospective cohort studies evaluating prenatal fluoride
exposures.

Objective: To conduct a systematic review of the human, experimental animal [extending (NTP 2016)
report], and mechanistic literature to evaluate the evidence and develop hazard conclusions about
whether fluoride exposure is associated with neurodevelopmental and cognitive effects.

Method: A systematic review protocol was developed and utilized following the Office of Health
Assessment and Translation (OHAT) approach for conducting literature-based health assessments.

Results: The literature search and screening process identified 159 published human studies,
339 published experimental animal studies, and 60 in vitro/mechanistic studies relevant to the
objective. Ninety-two of the 159 human studies evaluated the association between fluoride exposure
and neurodevelopmental or cognitive effects, and the remaining human studies evaluated thyroid
effects or other potential mechanistic data. The majority of the experimental animal studies were
mechanistic studies, which were not assessed in the NTP (2016) report. Since the NTP (2016) systematic
review (through April 2019), 35 experimental animal studies evaluating effects on learning and memory
and/or motor activity and sensory effects of fluoride were identified.




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Supported by a meta-analysis, the human body of evidence provides a consistent and robust pattern of
findings that higher fluoride exposure (e.g., >1.5 mg/L in drinking water) is associated with adverse
effects on neurocognitive development, including lower intelligence quotient (IQ) in children. There is a
moderate level of evidence from cognitive neurodevelopmental studies in children based on five
prospective cohort studies and 14 cross-sectional studies where exposure was identified as occurring
prior to outcome. The evidence for cognitive effects in adults is limited, coming from two cross-sectional
studies, and is inadequate to evaluate whether fluoride exposure in adults is associated with cognitive
effects. The assessment of the new animal data focuses on evaluating a deficiency identified during the
prior NTP (2016) review concerning the difficulty in distinguishing potential effects of fluoride on motor
and sensory functions from effects specifically on learning and memory functions. Further examination
of the animal data, including studies carried out at the NTP, has not resolved this issue. Because of this
and other deficiencies related to overall study quality, the animal body of evidence is now considered
inadequate to inform conclusions on whether fluoride exposure is associated with cognitive effects
(including cognitive neurodevelopmental effects) in humans. While the animal data provide evidence of
effects of fluoride on neurodevelopment, the human evidence base is primarily focused on cognitive
neurodevelopmental effects, and these human data are the primary basis of conclusions.

Conclusions: Because the majority of available studies evaluated cognitive neurodevelopmental effects
in children, the focus of the hazard conclusions is on cognitive neurodevelopmental effects, primarily IQ.
When focusing on findings from studies with exposures in ranges typically found in drinking water in the
United States (0.7 mg/L for optimally fluoridated community water systems) 2 that can be evaluated for
dose response, effects on cognitive neurodevelopment are inconsistent, and therefore unclear.
However, when considering all the evidence, including studies with exposures to fluoride levels higher
than 1.5 mg/L in water, NTP concludes that fluoride is presumed to be a cognitive neurodevelopmental
hazard to humans. This conclusion is based on a moderate level of evidence that shows a consistent and
robust pattern of findings in human studies across several different populations demonstrating that
higher fluoride exposure (e.g., >1.5 mg/L in drinking water) is associated with lower IQ and other
cognitive effects in children. Limited and weaker evidence is considered to provide an inadequate level
of evidence that fluoride is associated with cognitive effects in adults. The evidence from animal studies
is inadequate to inform conclusions on cognitive effects, and the mechanisms underlying fluoride-
associated cognitive neurodevelopmental effects are not well characterized.




2
 As of April 2020, 1.08% of persons living in the United States (~ 3.5 million people) were served by community
water systems (CWS) containing ≥ 1.1 mg/L naturally occurring fluoride. CWS supplying water with ≥ 1.5 mg/L
naturally occurring fluoride served 0.59% of the U.S. population (~ 1.9 million people), and systems supplying
water with ≥ 2 mg/L naturally occurring fluoride served 0.31% of the U.S. population (~1 million people)
(https://www.cdc.gov/fluoridation/data-tools/reporting-system.html).


                                                         2
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even before limiting the review of the data to lower risk-of-bias studies. These data are insufficient to
increase confidence or support a change to hazard conclusions.

Thyroid
Seventeen studies were identified that evaluated potential effects of fluoride on the thyroid with
concentrations at or below 20 ppm (see Figure 9). These animal thyroid data are not further described
because this endpoint has been directly evaluated in a number of human studies that have failed to
identify consistent evidence to suggest that thyroid effects are a requisite mechanism by which fluoride
causes neurodevelopmental or cognitive effects in humans.

Figure 10. Number of Lower Risk-of-bias Animal Studies that Evaluated Biochemical,
Neurotransmission, and Oxidative Stress Effects at or Below 20 ppm by Mechanism Subcategory and
Direction of Effect*




*Interactive figure and additional study details in Tableau®
(https://public.tableau.com/profile/ntp.visuals#!/vizhome/Fluoride_Animal_SelectMechanisms_UPDATE/Figure9). This
figure displays study counts for lower risk-of-bias studies, as these counts are most relevant to the text in this section.
Counts for higher risk-of bias studies or all studies combined can be accessed in the interactive figure in Tableau®. Study
counts are tabulated by significance—statistically significant increase (↑), statistically significant decrease (↓), or not
significant (NS). For example, the “↑” column displays numbers of unique studies with at least one endpoint in the
mechanistic subcategory with significantly increasing results at fluoride exposure levels of ≤20 ppm. These columns are
not mutually exclusive (i.e., a study may report on multiple endpoints with varying results within a single mechanistic
subcategory and therefore may be reflected in the counts for the “↑”, “↓”, and NS columns, but would only be counted
once in the Grand Total column). Endpoints, species, strain, sex, and exposure duration are available for each study in
the interactive figure in Tableau®.

In Vitro/Mechanistic Data on Neurodevelopmental or Cognitive Effects
Although in vitro data were collected as part of the systematic review process, NTP determined that the
information on neurological effects obtained from these studies is too general, and results cannot
necessarily be attributed to effects on learning and memory or other cognitive functions at this time.
The in vitro data may help support specific mechanisms identified from in vivo mechanistic data;
however, as described above, no specific mechanism has been determined for fluoride effects on
learning and memory or other neurodevelopmental or cognitive outcomes.

Evidence Synthesis for Neurodevelopmental or Cognitive Effects
There is consistent evidence that exposure to fluoride is associated with cognitive neurodevelopmental
effects in children. There is moderate confidence in the human data in children from 5 well-conducted


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prospective studies, supported by 14 cross-sectional studies where exposure was identified as likely
occurring prior to outcome. The human body of evidence in adults is considered inadequate to evaluate
whether fluoride exposure is associated with cognitive effects due to low confidence in the human data
in adults, a limited number of studies, and a lack of evidence of an effect (i.e., there is not sufficient
evidence of an effect, but the confidence in the data is not high enough to conclude that there is no
effect). The animal data are inadequate to evaluate for learning and memory effects primarily due to the
uncertainty in distinguishing effects on cognitive outcomes from secondary effects on the nervous
system or general health including motor activity issues; however, these data do provide evidence of
other neurodevelopmental effects. There is also evidence from mechanistic studies of adverse
neurological effects of fluoride in humans and animals of unknown relationship to cognition.

The initial moderate confidence is based on 19 studies where exposure occurred prior to outcome and
that evaluated individual-based outcomes and used a comparison group. Factors considered for
upgrading or downgrading the confidence are as follows:

    •   Risk of bias: Only studies that were considered to have lower risk of bias were included in the
        moderate confidence rating; therefore, there is no downgrade for risk-of-bias concerns.

    •   Unexplained inconsistencies: The data are relatively consistent and there was no downgrade for
        this factor. In terms of IQ data, 17 studies observed significant effects associated with fluoride,
        and 2 studies found no significant association but neither of these studies adjusted for
        confounders. Consistency among neurodevelopmental effects other than IQ was also
        considered; however, the conclusions are based on the IQ data so these other
        neurodevelopmental effects would not impact a potential adjustment in confidence. Studies
        measuring neurodevelopmental effects other than IQ did not show consistent effects. It is not
        known whether fluoride exposure would be expected to be associated with
        neurodevelopmental outcomes in addition to IQ or other cognitive measures.

    •   Indirectness: IQ in humans is a direct measure of effect and therefore no adjustment in
        confidence is warranted.

    •   Imprecision: The meta-analysis indicates that there was no reason to downgrade due to
        imprecision.

    •   Publication bias: While the meta-analysis that estimated the pooled SMD among 46 included
        studies (both higher and lower risk-of-bias) indicated that there was potential for publication
        bias, a subgroup analysis indicated that there was no publication bias among the lower risk-of-
        bias studies (see Figure A5-8). Among the higher risk-of-bias studies, the trim-and-fill analysis
        estimated that, in the absence of publication bias, the negative direction of effect and statistical
        significance remained (Figure A5-9). For the meta-analysis that calculated a pooled effect
        estimate among the studies with individual-level measures, the funnel plot indicated publication
        bias; however, the trim-and-fill analysis estimated that once adjusted for publication bias, the
        negative direction of effect remained (Appendix 5, Figure A5-16 and Figure A5-18). Therefore,
        no downgrade was applied for publication bias.

    •   Large magnitude of effect: While some individual studies indicate a large magnitude of effect,
        the overall pooled effect estimate from the meta-analysis of studies with individual-level




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        measures does not demonstrate a large magnitude of effect (Appendix 5). Therefore, the
        overall data would not support an upgrade due to a large magnitude of effect.

    •   Dose-response: Linear dose-response models provide the best fit to the data in studies
        examining individual-level measures of fluoride exposure and IQ. A meta-analysis of studies that
        compared mean IQ scores between groups of children with different levels of fluoride exposure
        showed a significantly lower mean SMD at higher concentrations of fluoride (>1.5 mg/L) from
        water (SMD: −0.14; 95% CI: −0.19, −0.08; n = 31 studies) and urine (SMD: −0.18; 95% CI: −0.31,
        −0.05; n = 22 studies) (Appendix 5); however, the dose-response relationship at fluoride
        concentrations below 1.5 mg/L fluoride in urine or drinking water is less certain. The overall
        dose-response could be used to upgrade the confidence in the body of evidence.

    •   Residual confounding: Xiang et al. (2003a), Xiang et al. (2011), and Wang et al. (2012) studied
        the same population where arsenic occurred in the area with low fluoride, but did not occur in
        the area with high fluoride. This would have biased the results toward the null, but there was a
        significantly lower IQ scores in the area with high fluoride. The remaining studies do not provide
        enough information to consider residual confounding as an impactful factor for the body of
        evidence. Therefore, the overall data would not support an upgrade due to residual
        confounding.

    •   Consistency: There is consistent evidence across study populations and study designs that
        fluoride is associated with lower IQ scores at higher concentrations of fluoride. There is
        uncertainty and less of a consistent pattern at concentrations below 1.5 mg/L. There is also a
        lack of consistency observed with and among other types of neurodevelopmental effects. The
        consistency in the overall results of the data set could increase the confidence.

Summary judgement on potential upgrades or downgrades in the confidence: Although the OHAT
approach for evidence integration allows for the initial confidence in the body of evidence to be
increased based on consistency or dose response, the NTP judgement is that the magnitude of effect
and the overall strength and quality of the human literature base provides a moderate confidence in the
body of evidence that fluoride causes cognitive neurodevelopmental effects in children.

The moderate confidence in the body of evidence in children translates to a moderate level of evidence
that fluoride is associated with lower IQ and other cognitive neurodevelopmental effects in children.

The limited and weaker evidence of cognitive effects in adults is considered to provide an inadequate
level of evidence that fluoride is associated with cognitive effects in adults. The animal body of evidence
is also considered to provide an inadequate level of evidence for cognitive effects in adults.

Integration of these level-of-evidence conclusions supports an initial hazard conclusion of presumed to
be a cognitive neurodevelopmental hazard to humans because of the extent and consistency of effect in
the available data in children. Because most of the available studies evaluated intelligence in children,
the primary focus in human data was on IQ and other cognitive neurodevelopmental effects, which is
the primary basis for the hazard conclusion. A separate conclusion on other neurodevelopmental effects
was not reached based on limited information in humans.

The moderate level of evidence in the human data in children supports a hazard conclusion of presumed
instead of suspected due to the relatively large and consistent body of evidence, especially in relation to
measures of IQ (17 of 19 lower risk-of-bias studies that assessed IQ reported an association between


                                                    67
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higher fluoride and lower IQ scores) across multiple populations. A conclusion of presumed is supported
by a statistically significant effect observed in the meta-analysis. Furthermore, the presumed hazard
conclusion is supported by the low expectation that new studies would decrease the hazard conclusion.

Effects in children
         • Human body of evidence: Moderate Confidence = Moderate Level of Evidence

       •   Animal body of evidence: Overall poor quality of studies and few studies that specifically
           assess effects on learning and memory after exposure during developmental periods
           separately from other neurological effects including motor activity = Inadequate Level of
           Evidence

       •   Initial hazard conclusion (Moderate Human x Inadequate Animal) = Presumed to be a
           Cognitive Neurodevelopmental Hazard to Humans

       •   Final hazard conclusion (after consideration of biological plausibility) = Presumed to be a
           Cognitive Neurodevelopmental Hazard to Humans

Effects in adults
         • Human body of evidence: Low Confidence with no discernible effect = Inadequate Level of
             Evidence

       •   Animal body of evidence: Overall poor quality of studies and few studies that specifically
           assess effects on learning and memory after exposure in adulthood separately from other
           neurological effects including motor activity = Inadequate Level of Evidence

       •   Initial hazard conclusion (Inadequate Human x Inadequate Animal) = Not classifiable

       •   Final hazard conclusion (after consideration of biological plausibility) = Not classifiable




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                       Exhibit C
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From: Carfora, Debra (ENRD) <Debra.Carfora@usdoj.gov>
Sent: Tuesday, January 4, 2022 10:59 AM
To: Michael ConneA <mconneA@waterskraus.com>
Cc: Adkins, Brandon (ENRD) <Brandon.Adkins@usdoj.gov>
Subject: Fluoride Status Report - NTP Update

[CAUTION]: External Email


Hi Michael,

As a follow up to our conversaaon yesterday, we’ve heard from the lawyer for the NTP. Below is the status
she’s provided.

     •          Status regarding publication of the NTP Monograph – The NTP
               Monograph will be published as a state of the science document that does not
               reach hazard conclusions. A draft document was completed and sent to 5
               external peer-reviewers in early November of 2021. We expect the peer
               review comments early in 2022 and will consider these comments in the final
               publication of the monograph. We have received one review and expect the
               other 4 in the coming weeks. Pending general reviewer agreement with our
               document, we anticipate public availability of a revised final state of the
               science report by the end of March.
     •          Meta-analysis – The meta-analysis is now a separate, standalone document
               under consideration as a journal publication. We anticipate resubmission by
               the middle of February. After that, we have no way to predict how long the
               journal peer review step will take.
Could you drab for our review a joint status report? EPA will probably want to include conﬁrmaaon that the
Spanish cohort study has been published, we can add that during our review.

Thanks,
_____________________________________
DEBRA J. CARFORA, Senior Trial Counsel
Environmental Defense Section ǀ Environment and Natural Resources Division ǀ U.S. Department of Justice
Phone ǀ office 202.514.2640 ǀ cell 202.598.3835 ǀ fax 202.514.8865
4 Constitution Square, 150 M Street NE, Room 4.1128, Washington DC 20002

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sophisacated tacacs. Our banking informaaon rarely changes. If you receive a request to change wiring informaaon associated with our
ﬁrm, we request that you independently verify by calling a known contact within our ﬁrm or independently emailing a member of our
ﬁrm before taking any acaon. Thank you




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                       Exhibit D
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·1   · · · · · IN THE UNITED STATES DISTRICT COURT
· · ·· · · ·FOR THE NORTHERN DISTRICT OF CALIFORNIA
·2   · · · · · · · · · ·AT SAN FRANCISCO

·3    ______________________________________________________

·4   FOOD & WATER WATCH, et al.,· ·|
· · ·· · · · · · · · · · · · · · · |
·5   · · · · · · · ·Plaintiffs,· · |· CIVIL ACTION
· · ·· · · · · · · · · · · · · · · |
·6   · · · · · ·vs.· · · · · · · · |· FILE NO.
· · ·· · · · · · · · · · · · · · · |
·7   U.S. ENVIRONMENTAL PROTECTION |· 17-cv-2162-EMC
· · ·AGENCY, et al.,· · · · · · · ·|
·8   · · · · · · · · · · · · · · · |
· · ·· · · · · · · ·Defendants.· · |
·9   ______________________________________________________

10

11   · · · · ·VIDEOTAPE RULE 30(b)(6)DEPOSITION OF
· · ·· · · ·CENTERS FOR DISEASE CONTROL & PREVENTION
12   · · · · · · · · · · · · THROUGH
· · ·· · · · · · · · · · ·CASEY HANNAN
13

14    · · · · · · · ·Tuesday, November 6, 2018

15    · · · · · · · · · · · 10:15 a.m.

16
· · ·· · · · · · · · · ·1600 Clifton Road
17   · · · · · · · ·Building 21, Suite 10000
· · ·· · · · · · · · · ·Atlanta, Georgia
18

19    · · · · · · · Linda C. Ruggeri, CCR-A-261

20

21

22

23

24

25
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                                   30(b)(6)                               8

·1    · · · · · · MR. CONNETT:· Good morning.· Michael

·2    · · ·Connett on behalf of the plaintiffs.

·3    · · · · · · MR. DO:· John Thomas Do with the

·4    · · ·Department of Justice for defendants.

·5    · · · · · · MS. STETTNER:· Joanna Stettner, attorney

·6    · · ·for Health & Human Services, CDC.

·7    · · · · · · · · · · ·CASEY HANNAN,

·8    having been first duly sworn, was examined and

·9    testified as follows:

10    · · · · · · · · · · · EXAMINATION

11    BY MR. CONNETT:

12    · · ·Q.· · ·Good morning.

13    · · ·A.· · ·Good morning.

14    · · ·Q.· · ·Can you please state your name for the

15    record.

16    · · ·A.· · ·Casey Hannan.

17    · · ·Q.· · ·And that's H-a-n-n-a-n?

18    · · ·A.· · ·Correct.

19    · · ·Q.· · ·Have you ever had a deposition taken

20    before?

21    · · ·A.· · ·No.

22    · · ·Q.· · ·Now, we're here today at the CDC's Office

23    of General Counsel's Office, but do you understand

24    that you have the same obligation to tell the truth

25    today just as if you were testifying in a courtroom



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                                   30(b)(6)                               17

·1    basically.· It's oversight of all the units within the

·2    division, you know, the branches, if you will.

·3    There's a program branch.· There's a surveillance,

·4    investigations, and research branch.· There's a

·5    science and evaluation team.· There's a policy and

·6    communications team.· And our mission is to through

·7    population-based approaches prevent the burden of oral

·8    disease to improve people's quality of life and

·9    physical health.

10    · · ·Q.· · ·And so what are some of the tasks that go

11    along with fulfilling your responsibilities as acting

12    director?

13    · · ·A.· · ·Tasks.· Well, a big part of what I do is

14    in reviewing and clearing documents.· So if it's a

15    scientific document, I'm part of a clearance chain

16    that ensures that the document has been prepared in a

17    way consistent with high scientific standards of the

18    agency, programmatic documents that reflect guidance

19    to funded and unfunded constituencies, reviewing

20    policy and communications materials that might be

21    prepared for places like one-page information sheets,

22    for our web content.· So that's a big portion.

23    · · · · · · Another task is representing the division

24    with external partners.· That could be other federal

25    partners such as HRSA or NIH.· It could be with



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                                   30(b)(6)                               18

·1    national partners such as the Association of State and

·2    Territorial Dental Directors.· It could be National

·3    Association of Chronic Disease Directors.· So

·4    interfacing with partners to coordinate and synergize

·5    efforts basically to hopefully leverage our resources

·6    and theirs in ways that have more beneficial outcomes

·7    on oral disease burden.

·8    · · ·Q.· · ·And you mentioned some partners.· Would

·9    the American Dental Association be a partner?

10    · · ·A.· · ·Yes.

11    · · ·Q.· · ·And would the Campaign for Dental Health

12    be a partner?

13    · · ·A.· · ·I'm trying to remember.· Campaign for

14    Dental Health, I believe so.· Is that the one under

15    the American Association -- the AAP?

16    · · ·Q.· · ·I think so.· I'm not sure.

17    · · ·A.· · ·I believe so, but I'm not certain.

18    · · ·Q.· · ·It's the website that's I Like Teeth,

19    ilikemyteeth.org, I think.

20    · · ·A.· · ·The same answer.· I'm not certain.

21    · · ·Q.· · ·Okay.· So what about American Fluoridation

22    Society, is that a partner of the CDC's Oral Health

23    Division?

24    · · ·A.· · ·I'm not aware that it is.

25    · · ·Q.· · ·Okay.· And in terms of your work's



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                                   30(b)(6)                               19

·1    interfacing with the American Dental Association, part

·2    of that would be about working together to promote

·3    community water fluoridation, correct?

·4    · · ·A.· · ·Yes.

·5    · · ·Q.· · ·Okay.· And CDC has taken an active role in

·6    promoting water fluoridation, correct?

·7    · · ·A.· · ·Yes.

·8    · · ·Q.· · ·Okay.· So you're still the acting

·9    director, correct?

10    · · ·A.· · ·Correct.

11    · · ·Q.· · ·What is there -- I mean, are you -- are

12    you going to be the director or what's the process of

13    going from acting director to director?

14    · · ·A.· · ·What's the process from going to acting --

15    at this point I wouldn't be eligible to apply.

16    · · ·Q.· · ·Okay.· We don't need to go into that.· So

17    now let's talk now about what you did to prepare for

18    today's deposition.· And, first, do you understand

19    that you are appearing today as a representative of

20    the CDC?

21    · · ·A.· · ·I do.

22    · · ·Q.· · ·And do you have an understanding as to

23    what this case is about?

24    · · ·A.· · ·I do.

25    · · ·Q.· · ·What is your understanding?



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                       Exhibit F
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From:                 Flowers, Christine B (NIH/NIEHS) [El
Sent:                 Wednesday, February 3, 2021 9:51 AM
To:                   Wolfe, Mary (NIH/NIEHS) [El; Berridge, Brian (NIH/N IEHS) [El
Cc:                   Bucher, John (N IH/NIEHS) [El; Taylor, Kyla (NIH/NIEHS) [E]; Rooney, Andrew (NIH/NIEHS) [E]
Subject:              RE: Response to NASEM review of NTP Fluoride Monograph - working document - DRAFT



Then go with "may be ... "

Christine Bruske Flowers
Director, Office of Communications and Public Liaison
National Institute of Environmental Health Sciences
National Institutes of Health
U.S. Department of Health and Human Services
919-260-9651


From: Wolfe, Mary (NIH/NIEHS) [El <wolfe@niehs.nih.gov>
Sent: Wednesday, February 3, 2021 9:42 AM
To: Flowers, Christine B (NIH/NIEHS) [El <bruskec@niehs.nih.gov>; Berridge, Brian (NIH/NIEHS) [El
<brian .berridge@nih .gov>
Cc: Bucher, John (NIH/NIEHS) [El <bucher@niehs.nih.gov>; Taylor, Kyla (NIH/NIEHS) [El <kyla.taylor@nih.gov>; Rooney,
Andrew (NIH/NIEHS) [El <andrew.rooney@nih.gov>
Subject: Re: Response to NASEM review of NTP Fluoride Monograph - working document - DRAFT




                                                   Redacted by agreement




From: Flowers, Christine B (NIH/NIEHS) [El <bruskec@niehs.nih.gov>
Sent: Wednesday, February 3, 2021 9:21 AM
To: Berridge, Brian (NIH/N IEHS) [El <brian.berridge@nih.gov>
Cc: Bucher, John (NIH/NIE HS) [El <bucher@niehs.nih.gov>; Wolfe, Mary (NIH/NIEHS) [El <w olfe@niehs.nih.gov>; Taylor,
Kyla (NIH/NIEHS) [E] <kyla.taylor@nih.gov>; Rooney, Andrew (NIH/NIEHS) [El <andrew.rooney@nih.gov>
Subject: RE: Response to NASEM review of NTP Fluoride Monograph -working document - DRAFT

I' m sorry for my delayed response, but I was tied up yesterday with the Vaccine Confidence Campaign.

Brian - to a public and non-NTP audience,                                   Redacted by agreement
                                                    Redacted by agreement
                                                   Redacted by agreement
Further, in all of our back-and-forth with NIH, NIDCR, and HHS, this is the language they went back to over and over

                                                              1
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again as what needed to be included in a public statement regarding this report.                      Redacted by agreement
                                                  Redacted by agreement
                                         Redacted by agreement


For this sentence ...




                                                            Redacted by agreement




Perhaps an alternative could be ...
                                                            Redacted by agreement



Christine Bruske Flowers
Director, Office of Communications and Public Liaison
National Institute of Environmental Health Sciences
National Institutes of Health
U.S. Department of Health and Human Services
919-260-9651


From: Berridge, Brian (NIH/NIEHS) [El <brian.berridge@nih.gov>
Sent: Monday, February 1, 2021 5:18 PM
To: Flowers, Christine B (N IH/NIEHS) [El <bruskec@niehs.nih.gov>
Cc: Bucher, John {N IH/NIEHS) [El <bucher@niehs.nih.gov>; Wolfe, Mary (NIH/NIEHS) [El <wolfe@niehs.nih.gov>; Taylor,
Kyla (NIH/NIEHS) [El <kyla.taylor@nih.gov>; Rooney, Andrew (NIH/NIEHS) [El <andrew.rooney@nih.gov>
Subject: Re: Response to NASEM review of NTP Fluoride Monograph - working document - DRAFT


I hear you and I expect that I                                                Redacted by agreement                               I
                                                         Redacted by agreement                                                I
~~~=~~~!v !For this statement, we should aim for a simple recitation of our original       I          Redacted by agreement       I
                        Redacted by agreement                      Ifollowed by the final outcome of the peer review- can't
support our assessment. It doesn't matter how the original conclusion was qualified since it wasn't supported. We're
perpetuating a confusing argument if we do that.

As written, they are all true statements.

Brian R. Berridge, DVM, PhD, DACVP
Scientific Director, Division of NTP
Associate Director, National Toxicology Program
NIEHS
Office- 984-287-3111
Mobile- IPecsaual Jufol
brian.berridge@nih.gov

For immediate assistance or scheduling, contact Lisa Wolf (lisa.wolf@nih.gov) or Beth Perry {beth.perry2@nih.gov ).


From: "Flowers, Christine B (N IH/NIE HS) [El" <bruskec@niehs.nih.gov>
Date: Monday, February 1, 2021 at 5:01 PM

                                                                          2
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From:                Flowers, Christine B (NIH/NIEHS) [El
Sent:                Friday, February 5, 2021 5:36 AM
To:                  Woychik, Rick (NIH/NIEHS) [El
Cc:                  Collman, Gwen (N IH/NIEHS) [El
Subject:             Re: NTP statement response to NASEM review of NTP Fluoride Monograph



The Statement is the Niehs/NTP statement whichNIDCR wiill very likely ask to be edited to add more detail about the
benefits of fluoride.
They will also no doubt prepare their own statement, which I will ask to review. I will also ask them to ident ify their
spokesperson.
Even with these "agreed to" terms, you shouldn't be surprised if someone at NIDCR gets out a message something like
"fluoride in water is still great and there's no reason to change this successful public health initiative based on a report
twice rejected by NASEM". That's what I expect will be the CDC response too-worded more softly perhaps.

Christ ine Bruske Flowers



        On Feb 4, 2021, at 10:21 PM, Woychik, Rick (NIH/NIEHS) [El <rick.woychik@nih.gov> wrote:



        Good point Gwen,

        Christine, your thoughts?

        Rick



                On Feb 4, 2021, at 21:22, Collman, Gwen (NIH/NIEHS) [El <collman@niehs.nih.gov>
                wrote :

                 Had another thought -

                What guidance do you give NIDCR scientist who is no doubtedly will be contacted by the
                media and asked about the monograph methods and conclusion.

                Do you t hink this is a companion list of talking points with answers to questions that you
                anticipate will be asked by the press.

                Even if the internal guidance to refer the reporter to someone (named) for further
                comment.?

                Or craft an agreement of who will talk about which aspects of this issue?

                Gwen




                Gwen W Collman, PHO
                                                              1
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Acting Deputy Director
National Institute of Environmental Health Sciences
Collman@niehs.nih.gov




       On Feb 4, 2021, at 9:18 PM, Collman, Gwen (NIH/NIEHS) [El
       <collman@niehs.nih.gov> wrote :

        I think this reads well. I think it is ok to send forward to NIDCR.

       Gwen

       Gwen W Collman, PHO
       Acting Deputy Director
       National Institute of Environmental Health Sciences
       Collman@niehs.nih.gov




                On Feb 4, 2021, at 8:25 PM, Woychik, Rick (NIH/NIEHS)
                [El <rick.woychik@nih.gov> wrote:



                Christine,
                This looks fine. I'm forwarding this to Gwen since she is
                working with both the DNTP team and our colleagues in
                OCR to plan next steps. Gwen, your thoughts?
                Thanks much,
                Rick


               From: Flowers, Christine B (N IH/NIEHS) [El
               <bruskec@niehs.nih.gov>
               Sent: Thursday, February 4, 2021 5:59 PM
               To: Woychik, Rick (N IH/NIEHS) [E)
               <rick.woychik@nih.gov>
               Subject: NTP statement response to NASEM review of
               NTP Fluoride Monograph

                Rick-
                Attached for your review is the statement we would
                release to reporters who ask us to response to NASEM's
                peer-review ofthe fluoride monograph. I have worked
                with the NTP team on this and the consensus version is
                attached. After your review, we will share t he
                statement with NIDCR for their review.

                Christine Bruske Flowers
                Director, Office of Communications and Public Liaison
                National Institute of Environmental Health Sciences
                National Institutes of Health

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                        Exhibit I
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                       Exhibit K
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February 7, 2022

Rick Woychik, Ph.D.
Director
National Toxicology Program and the
National Institute of Environmental Health Sciences
111 TW Alexander Drive
Durham, NC 27709

Re: State-of-the-Science Report on Fluoride Exposure


Dear Dr. Woychik:

On behalf of our 162,000 members, we would like to express our concern about the
National Toxicology Program’s forthcoming state-of-the-science report examining whether
there is a causal relationship between fluoride exposure and potential neurodevelopmental
and cognitive effects. Specifically, we ask you to exclude—or carefully consider how to
characterize—any neurotoxin claims lingering from NTP’s now-abandoned monograph,
even if placed in a forward or executive summary.

For the last several years, NTP has been examining the literature to determine whether
there is a causal relationship between fluoride exposure and neurocognitive health. The
work culminated in a proposed monograph titled Systematic Review of Fluoride Exposure
and Neurodevelopmental and Cognitive Health Effects. Both the first and revised drafts
contained the unqualified statement that fluoride is a “potential” neurotoxin at any exposure
level.1-2

The National Academies of Sciences, Engineering and Medicine issued scathing peer
reviews of both drafts, questioning whether the claim could withstand scientific scrutiny.
NASEM noted that NTP failed to provide adequate scientific evidence for its conclusion,
noting difficulty following the review methods, inability to find key data, “worrisome”
inconsistencies, and concerns about the wording of some conclusions.3-4

NTP’s blanket claim about any level of exposure was based on a “low-to-moderate level of
evidence” examining exposure to abnormally high levels of fluoride (≥1.5 mg/L). Those
levels are more than double of what Centers for Disease Control and Prevention and the
U.S. Public Health Service recommends for community water fluoridation (0.7 mg/L). It
prompted NASEM to write in its second peer review:

   “NTP did not conduct a formal dose-response assessment that could inform a
   discussion on water fluoridation. NTP needs to state clearly that the monograph is not
   designed to be informative with respect to decisions about the concentrations of fluoride
   that are used for water fluoridation. That point should be reiterated at the end of the
   monograph with some indication that…[the monograph] does not draw any conclusions
   regarding drinking-water fluoridation or other fluoride sources, such as toothpaste or
   other dental treatments… [T]he context into which the monograph falls calls for much
   more carefully developed and articulated communication on this issue.”
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Dr. Rick Woychik
February 7, 2022
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The ADA is concerned that the monograph’s risk biased claim about fluoride being a
“potential” neurotoxin at any exposure level will resurface in NTP’s state-of-the-science
report. An unqualified claim of this nature would only add to the many myths and
misperceptions about community water fluoridation (0.7 mg/L)—and undermine national,
state, and local efforts to expand the practice.

The CDC hailed community water fluoridation as one of ten great public health
achievements of the 20th century.5-6 It is an inexpensive way to reduce tooth decay by at
least 25 percent in the population.7 It would be a shame to distract from over 75 years of
public health success over a simple matter of communicating the science, which is often
more nuanced than a sound bite can convey.

We would welcome the opportunity to meet with you to discuss our concerns. In the
meantime, we ask you to exclude—or carefully consider how to characterize—any
neurotoxin claims lingering from NTP’s now-abandoned monograph, even if placed in a
forward or executive summary.

If you have any questions, please contact Mr. Robert J. Burns at 202-789-5176 or
burnsr@ada.org.

Sincerely,

/s/                                             /s/

Cesar R. Sabates, D.D.S.                        Raymond A. Cohlmia, D.D.S.
President                                       Executive Director

CRS:RAC:rjb

cc: ADM Rachel Levine, Assistant Secretary for Health


1
  National Toxicology Program. 2019. Draft NTP Monograph on the Systematic Review of Fluoride
Exposure and Neurodevelopmental and Cognitive Health Effects. Office of Health Assessment and
Translation, Division of the NTP, National Institute of Environmental Health Sciences, National
Institutes of Health, U.S. Department of Health and Human Services.
2
  National Toxicology Program. 2020. Revised Draft NTP Monograph on the Systematic Review of
Fluoride Exposure and Neurodevelopmental and Cognitive Health Effects. Office of Health
Assessment and Translation, Division of the NTP, National Institute of Environmental Health
Sciences, National Institutes of Health, U.S. Department of Health and Human Services.
3
  National Academies of Sciences, Engineering, and Medicine. 2020. Review of the Draft NTP
Monograph: Systematic Review of Fluoride Exposure and Neurodevelopmental and Cognitive Health
Effects. Washington, DC: The National Academies Press.
4
  National Academies of Sciences, Engineering, and Medicine. 2021. Review of the Revised NTP
Monograph on the Systematic Review of Fluoride Exposure and Neurodevelopmental and Cognitive
Health Effects: A Letter Report. Washington, DC: The National Academies Press.
5
  Centers for Disease Control and Prevention. Ten Great Public Health Achievements -- United
States, 1900-1999. MMWR 1999; 48 (12): 241-243.
6
  Vivek H. Murthy, Surgeon General's Perspectives: Community Water Fluoridation—One of CDC’s
10 Great Public Health Achievements of the 20th Century, Public Health Rep 2015; 130(4): 296-298.
7
  American Dental Association, Fluoridation Facts, 2018.
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1    MICHAEL CONNETT, ESQ., CA Bar No. 300314
     WATERS, KRAUS & PAUL
2    222 N. Pacific Coast Hwy, Suite 1900
     El Segundo, CA 90245
3    310-414-8146 Telephone
     310-414-8156 Facsimile
4

5    Attorneys for Plaintiffs
6
                                      UNITED STATES DISTRICT COURT
7                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                           AT SAN FRANCISCO
8
      KRISTIN LAVELLE,                                   )
9                                                        )
                                      Plaintiff,         )
10                    vs.                                )      Civil Action No. 22-cv-05118
                                                         )
11    NATIONAL INSTITUTE OF HEALTH,                      )      COMPLAINT
                                                         )
12                                    Defendants.        )
                                                         )
13                                                       )
14
                                                   INTRODUCTION
15
             1.      This is an action filed under the U.S. Freedom of Information Act (“FOIA”), 5 U.S.C. §
16
     552, et. seq. Plaintiff Kristin Lavelle seeks an order compelling the immediate release of agency records
17
     improperly withheld by the National Institutes of Health.
18
                                                    THE PARTIES
19
20           2.      Kristin Lavelle (“Plaintiff”) resides in Berkeley, California. Ms. Lavelle made the FOIA

21   request at issue in this case.

22           3.      Defendant NATIONAL INSTITUTES OF HEALTH (“NIH”) is a component entity of the

23   Department of the Health and Human Services, a federal agency. The NIH is subject to the Freedom of

24   Information Act, 5 U.S.C. § 552.

25                                         JURISDICTION AND VENUE

26
             4.      This case is brought under 5 U.S.C. § 552(a)(4)(B) and presents a federal question
27
     conferring jurisdiction on this Court. 28 U.S.C. § 1331.
28
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1           5.      Venue is proper under 5 U.S.C. § 552(a)(4)(B).

2                                          FACTUAL BACKGROUND

3
            A.      The National Toxicology Program (NTP)
4
            6.      The National Toxicology Program (“NTP”) is a federal government entity, headquartered
5
     within the Defendant NIH at the National Institutes of Environmental Health Sciences (“NIEHS”).
6
            7.      The mission of the NTP is “to build knowledge and advance toxicological sciences to
7
     protect and promote human health.” Towards this end, the NTP focuses exclusively on science, not policy.
8
            8.      According to scientists at NTP, “For more than 35 years, the National Toxicology Program
9
     (NTP) has conducted research, testing, and analysis activities and has disseminated information about
10
     potential health hazards in our environment. As the largest government program in toxicology, NTP has
11
     studied more than 2,800 substances for a variety of health effects, developed numerous new methods and
12
     tools, and published over 600 reports and monographs.”1
13
            9.      The NTP studies and evaluates the toxicity of chemicals; it does not enact regulations,
14
     rules, or policies to regulate how chemicals are used in society.
15
            B.      Fluoride & Neurodevelopment
16
            10.     One of the chemicals that NTP has been studying in recent years is fluoride.
17
            11.     Fluoride is added to the drinking water of approximately 200 million Americans. The
18
     health consequences (beneficial and/or detrimental) of this chemical are of substantial public interest given
19
     its widespread use and concomitant exposures.
20
            12.     One of the hazards of fluoride that the NTP has been focusing on is fluoride’s potential to
21
     adversely affect the developing brain, particularly when the exposure occurs in utero or during early
22
     infancy. Concerns about this hazard have been fueled, in part, by studies funded by the NIEHS2 which
23
     have found significant associations between early-life fluoride exposure and IQ loss in children.
24
        1
25           Xie Y, Holmgren S, Andrews DM, Wolfe MS. Evaluating the Impact of the U.S. National
     Toxicology Program: A Case Study on Hexavalent Chromium. Environ Health Perspect. 2017
26   Feb;125(2):181-188. doi: 10.1289/EHP21. PMID: 27483499.
          2
             Till C, et al. Fluoride exposure from infant formula and child IQ in a Canadian birth cohort. Environ
27   Int. 2020, 134:4–11; Green R, et al. Association between maternal fluoride exposure during pregnancy and
     IQ scores in offspring in Canada. JAMA Pediatr. 2019, 173:940–948; Bashash M, et al: Prenatal fluoride
28   Continued on the next page
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1           C.      NTP’s First Report on Fluoride - Neurodevelopmental Effects in Animals

2           13.     In 2016, the NTP published a report titled “Systematic Literature Review on the Effects of

3    Fluoride on Learning and Memory in Animal Studies.” Consistent with the mission and function of the

4    NTP, the report was focused solely on the science, and did not make any policy determinations.

5           14.     In 2018, drafts of the NTP’s 2016 report were produced in discovery by the U.S.

6    Environmental Protection Agency (EPA) in the case of Food & Water Watch v. EPA, No. 17-cv-02162-

7    EMC, which is a case that is still pending before the Hon. Judge Edward Chen in the Northern District of

8    California.3

9           15.     In Food & Water Watch, the EPA voluntarily produced drafts of the NTP’s 2016 report in

10   response to Plaintiffs’ discovery requests, but refused to produce any drafts that contained EPA’s

11   comments, claiming such drafts were protected under the deliberative process privilege. The court rejected

12   EPA’s assertion of privilege, and ordered that the Agency produce the draft NTP reports with EPA’s

13   comments. As Magistrate Judge Kandis Westmore explained, “whether an association exists [between

14   fluoride and neurodevelopmental effects] is a question of scientific fact, not a policy-oriented judgment

15   entitled to protection under the deliberative process privilege.”4

16          D.      NTP’s Second Report on Fluoride - Neurodevelopmental Effects in Humans

17          16.     In September 2019, the NTP publicly released a draft of its second report on fluoride, titled

18   “Systematic Review of Fluoride Exposure and Neurodevelopmental and Cognitive Health Effects.”

19   Whereas the NTP’s first report from 2016 had focused only on animal studies, this second report looked

20   at both animal and human studies, with a focus on the latter. Consistent with the mission and function of

21   the NTP, the report was focused solely on the science, and did not make any policy determinations.

22          17.     The 2019 draft of the NTP’s second fluoride report underwent peer review by the National

23   Academy of Sciences, Medicine & Engineering (NASEM). NASEM issued its peer review comments in

24
25   exposure and attention deficit hyperactivity disorder (ADHD) symptoms in children at 6-12years of age in
     Mexico City. Environ Int 2018, 121(Pt 1):658-666; Bashash M, et al: Prenatal fluoride exposure and
26   cognitive outcomes in children at 4 and 6-12 years of age in Mexico. Environ Health Perspect 2017,
     125(9):097017.
27      3
             The Plaintiff, Kristin Lavelle, is a plaintiff in the Food & Water Watch case.
        4
             The Court’s decision is attached hereto as Exhibit A. The relevant discussion of the draft NTP
28   reports is on pages 6 and 7.
                                                      3
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1    early 2020, and NTP thereupon released a revised report in September 2020 which incorporated NASEM’s

2    suggestions. This revised draft was again submitted to NASEM for peer review. In February 2021,

3    NASEM publicly released its second round of peer review comments.

4           18.      By November of 2021, the NTP had completed a revised draft which incorporated

5    NASEM’s second round of peer review comments. In November 2021, the NTP submitted this revised

6    draft for a third round of peer review. The NTP submitted the report to a group of 5 “external” (i.e., non-

7    government) scientists. In January of 2022, NTP stated: “Pending general reviewer agreement with our

8    document, we anticipate public availability of a revised final state of the science report by the end of

9    March.”

10          19.      By February 2022, the NTP had received comments from all 5 external peer reviewers.

11   The NTP incorporated these comments, and, by May 2022, had completed a finalized copy of the report.

12   After internal discussions about how to communicate the report’s findings to the public (e.g., through

13   press releases, etc), the NTP decided to publicly release the report on May 18, 2022.

14          20.      The NTP did not publicly release the report on May 18, 2022.

15          21.      The NTP has still not released the report. Instead, the NTP agreed to a request from

16   unknown persons or parties to submit the finalized report (which had already gone through three rounds

17   of extensive peer review) to an “inter agency review” with no set timeline for the review’s completion.

18          E.       Plaintiff’s FOIA Request

19          22.      On August 9, 2022, Plaintiff submitted a FOIA request to the Defendant NIH through its

20   online FOIA website: https://foiaportal.nih.gov.

21             23.   In her FOIA request, Plaintiff asked for the following three documents:

22                   (a) A copy of the report that NTP was going to publicly release on May 18, 2022;

23                   (b) A copy of the report that the NTP recently circulated for inter-agency review;

24                   (c) A copy of a December 30, 2021 email (and any attachments thereto) from a non-

25                      governmental scientist (Ibarluzea) to NTP regarding the findings of a study on fluoride

26                      and IQ in Spain. The email is cited and relied upon by NTP on a public database5 that

27                      the NTP maintains for studies it has reviewed as part of its evaluation of fluoride.

28      5
            See, e.g., https://hawcproject.org/epi/result/9277/ and https://hawcproject.org/epi/result/9278/
                                                      4
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1           24.      On August 9, 2022, a FOIA Officer at NIH emailed Plaintiff to acknowledge NIH’s receipt

2    of her request, and to incorporate a clarification that Plaintiff had requested.6 That day, Plaintiff’s FOIA

3    request was assigned the number 58806.

4           25.     As of the time of this Complaint, the NIH has not made a determination, or provided any

5    response, regarding Plaintiff’s request.

6           26.     The NIH has not yet even begun processing Plaintiff’s request. On NIH’s website, the NIH

7    lists the “status” of Plaintiff’s FOIA request as “Assigned for Processing.”7 This status means the “request

8    has been assigned to a FOIA Specialist for processing.” The status category that a FOIA request is assigned

9    when an officer begins working on the request is “In Process.” A request that is “In Process” is one which

10   is “actively being processed by the FOIA Office.” Plaintiff’s request has never been listed as “In Process.”

11          27.     The NIH has not identified any “unusual circumstances” that it will face in responding to

12   Plaintiff’s request. See 5 U.S.C. § 552(a)(6)(B)(i).

13                                              LEGAL FRAMEWORK

14
            A.      The Statutory Deadline for Agencies to Make a “Determination” Under the FOIA
15
            28.      The Freedom of Information Act (FOIA) commands that federal agencies make a
16
     “determination” regarding a FOIA request within 20 working days (excluding weekends and holidays) of
17
     receiving the request. 5 U.S.C. § 552(a)(6)(A)(i).
18
            29.      The statutory requirement that agencies make a “determination” within 20 working days
19
     is not satisfied by an agency simply acknowledging receipt of the request; nor is it satisfied by telling the
20
     requester that the agency will address the request when time permits. Citizens for Resp. & Ethics in
21
     Washington v. Fed. Election Comm’n, 711 F.3d 180, 186 (D.C. Cir. 2013) (“It is not enough that, within
22
     the relevant time period, the agency simply decide[s] to later decide. Therefore, within the relevant time
23
     period, the agency must at least inform the requester of the scope of the documents that the agency will
24
     produce, as well as the scope of the documents that the agency plans to withhold under any FOIA
25
     exemptions.”); Our Children's Earth Found. v. Nat'l Marine Fisheries Serv., 85 F. Supp. 3d 1074, 1089
26
        6
           A copy of the FOIA Officer’s email communications with Plaintiff are attached hereto as Exhibit B.
27   The highlighted portion of the exhibit contains the specific language of Plaintiff’s FOIA request.
         7
           A print-out of the NIH website (taken on September 8, 2022 at 5:10 pm EST) showing the status of
28   Plaintiff’s request is attached as Exhibit C.
                                                      5
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1    (N.D. Cal. 2015) (“A ‘determination’ need not be the full production of documents, but at a minimum the

2    agency must inform the requester what documents it will produce and the exceptions it will claim in

3    withholding documents.”).

4            30.    If a federal agency does not provide a determination within 20 working days of receiving

5    a FOIA request, the requester has the right to seek immediate redress in federal court. Citizens for Resp.

6    & Ethics in Washington v. Fed. Election Comm’n, 711 F.3d 180, 186-190 (D.C. Cir. 2013); Brown v. U.S.

7    Customs & Border Prot., 132 F. Supp. 3d 1170, 1172 (N.D. Cal. 2015); Our Children's Earth Found. v.

8    Nat'l Marine Fisheries Serv., 85 F. Supp. 3d 1074, 1089 (N.D. Cal. 2015).

9            B.     The Deliberative Process Privilege

10           31.     “The purpose of the deliberative process privilege ‘is to prevent injury to the quality of

11   agency decisions’ by ensuring that the ‘frank discussion of legal or policy matters’ . . . is not inhibited by

12   public disclosure.” Maricopa Audubon Soc. v. U.S. Forest Serv., 108 F.3d 1089, 1092–93 (9th Cir. 1997)

13   (emphasis added) (citation omitted)). Accordingly, to come within the scope of the privilege the document

14   must “‘make[] recommendations or express opinions on legal or policy matters.’” First Resort, Inc. v.

15   Herrera, 2014 WL 988773, at *5 (N.D. Cal. Mar. 10, 2014) (citation omitted).

16           32.    Courts have held that scientific assessments are not deliberative unless they are part of a

17   policy making procedure. Accordingly, if there is no policy being deliberated, a scientific assessment is

18   not subject to the deliberative process privilege. E.g., Ctr. for Biological Diversity v. U.S. Envtl. Prot.

19   Agency, 279 F. Supp. 3d 121, 151 (D.D.C. 2017) (“[T]o fall under the deliberative process privilege,

20   expert opinion must relate to an exercise of discretionary policy-making judgment.”); Greenpeace v. Nat’l

21   Marine Fisheries Serv., 198 F.R.D. 540, 544 (W.D. Wash. 2000) (“In order to be protected, expressions

22   of expert opinion and professional judgment must relate to the exercise of policy-oriented judgment.”).

23           33.    As Magistrate Judge Kandis Westmore recently explained in Food & Water Watch v. EPA,

24   17-cv-02162-EMC, draft NTP evaluations of the scientific literature are not subject to the deliberative

25   process privilege because they are not “predecisional” to any policy or decision.8

26   ///

27   ///

28           8
                    Exhibit A, p. 7.
                                                       6
                                                   COMPLAINT
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1                                             CLAIM FOR RELIEF

2                                  (Violation of the Freedom of Information Act
                                                   5 U.S.C. § 552)
3
             34.    Plaintiff incorporates every allegation set forth above.
4
             35.    The Freedom of Information Act does not provide federal agencies with the option to
5
     respond to FOIA requests at some indefinite point in the future, or when it is merely convenient or
6
     preferable to the agency to do so.
7
             36.    When, as in this case, an agency fails to respond within the statutory time frame, the
8
     requester will be deemed to have exhausted her administrative remedies and may seek relief in federal
9
     court. 5 U.S.C. § 552(a)(6)(A)(i); Citizens for Resp. & Ethics in Washington v. Fed. Election Comm’n,
10
     711 F.3d 180, 186-190 (D.C. Cir. 2013); Brown v. U.S. Customs & Border Prot., 132 F. Supp. 3d 1170,
11
     1172 (N.D. Cal. 2015); Our Children's Earth Found. v. Nat'l Marine Fisheries Serv., 85 F. Supp. 3d 1074,
12
     1089 (N.D. Cal. 2015).
13
             37.    It has been over 20 working days since Plaintiff submitted her FOIA request.
14
             38.    NIH has not yet provided a determination, let alone any response, to Plaintiff’s request.
15
             39.    Plaintiff’s FOIA request is very limited in its scope. The request only asks for three
16
     documents, each of which are readily available to the NIH.
17
             40.    The draft NTP report(s) at issue in this request are not protected by the deliberative process
18
     privilege, for the same reasons that the draft NTP reports were not subject to the deliberative process
19
     privilege in Food & Water Watch v. EPA, 17-cv-02162-EMC.
20
             41.    The December 30, 2021 email from a non-governmental person to NTP, which NTP
21
     publicly cites and relies upon on its website, is not subject to any privilege under the FOIA.
22
             42.    NIH’s failure to make a determination on Plaintiff’s request is a violation of the statutory
23
     deadlines set forth in the FOIA.
24
     ///
25
     ///
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     ///
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1                                     REQUESTED RELIEF

2      WHEREFORE, Plaintiff prays that this Court:

3      A.     Issue an order finding that the NIH has violated the FOIA;

4      B.     Order the NIH to immediately produce the three documents requested by Plaintiff, as

5             authorized by 5 U.S.C. § 552(a)(4)(B);

6      C.     Award Plaintiff’s attorneys’ fees and costs as authorized by 5 U.S.C. § 552(a)(4)(E); and

7      D.     Grant such other relief as justice may require or that the Court may deem appropriate.

8

9             September 9, 2022                            Respectfully submitted,

10
                                                           /s/ Michael Connett
11                                                         MICHAEL CONNETT
                                                           WATERS, KRAUS & PAUL
12
                                                           222 N. Pacific Coast Hwy
13                                                         El Segundo, CA 90245
                                                           Tel: 310-414-8146
14                                                         Email: mconnett@waterskraus.com
                                                           Attorney for Plaintiff
15
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                                              Sunday, September 11, 2022 at 12:05:51 Eastern Daylight Time


Subject:    RE: FWW v EPA - NTP Report
Date:       Tuesday, August 30, 2022 at 3:44:51 PM Eastern Daylight Time
From:       Adkins, Brandon (ENRD)
To:         Michael ConneL
CC:         Kay Reeves, CainNc, Paul (ENRD)
AEachments: image001.jpg

[CAUTION]: External Email



Michael,

Thanks for your patience. EPA’s position on your proposed motion is that the case should come out of
abeyance only to be decided on the June 2020 trial record.

Assuming you plan to file a motion today, please let me know whether Plaintiffs will stipulate to
enlarge EPA’s deadline to September 21 for the reasons I explained below.

Regarding my comment about communications with NIEHS, I requested as a courtesy.

Thanks again.

Best,
Brandon
_____
Brandon N. Adkins
United States Department of Justice
Environment and Natural Resources Division
(202) 616-9174 | brandon.adkins@usdoj.gov

From: Michael Conne: <mconne:@waterskraus.com>
Sent: Friday, August 26, 2022 11:51 AM
To: Adkins, Brandon (ENRD) <Brandon.Adkins@usdoj.gov>
Cc: Kay Reeves <kreeves@waterskraus.com>; CainVc, Paul (ENRD) <Paul.CainVc@usdoj.gov>
Subject: [EXTERNAL] Re: FWW v EPA - NTP Report

Brandon –

Based on what you have represented, I will hold oﬀ on ﬁling our moVon unVl Wednesday. We are also ﬁne




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with a short courtesy extension for your Vme to respond. Let’s wait to pick that date though unVl we be:er
understand EPA’s posiVon, as it may be that there isn’t much EPA will oppose, in which case a shorter
extension might be appropriate.

Lastly, could you clarify your comment about communicaVons with NTP? Are you requesVng this as a ma:er
of courtesy, or are you taking the posiVon that we are required to do so? If the la:er, can you explain the
basis?

Thanks,
Michael



Michael Connett | Partner
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222 N Pacific Coast Highway, Suite 1900 | El Segundo, CA 90245
Toll Free 800-226-9880 | Phone 310-414-8146
Fax 310-414-8156
mconnett@waterskraus.com | www.waterskrauspaul.com
From: Adkins, Brandon (ENRD) <Brandon.Adkins@usdoj.gov>
Date: Friday, August 26, 2022 at 10:03 AM
To: Michael Conne: <mconne:@waterskraus.com>
Cc: Kay Reeves <kreeves@waterskraus.com>, CainVc, Paul (ENRD) <Paul.CainVc@usdoj.gov>
Subject: RE: FWW v EPA - NTP Report

[CAUTION]: External Email


Michael,

Thanks for the update.

We worked to get you answers on whether EPA received inter-agency drafts of the NTP monograph,
which, despite our objections that the Agency has no obligation to respond to discovery requests at this
point, we provided. That should have resolved the motion you originally proposed. But on Tuesday this
week, you explained, notwithstanding our answers, that your clients still want to file a motion to lift the
stay and proceed with another round of discovery and trial. This was a new and different request. We
explained that we would need time to get a formal position from our clients, which may be difficult in
light of August travel schedules. That has proven true. While we appreciate your patience this week, we
will not be able to provide the Agency’s position before Tuesday afternoon next week. We understand
that you wish to note EPA’s position in your motion. If plaintiffs are unable to postpone filing to
Tuesday evening, they may note that EPA was unable to confirm its position before plaintiffs’ filing and
that the Agency will file a response in due course.

Relatedly, if your clients insist on filing a motion on Monday, EPA’s response under the local rules
would be due on September 12. I have two summary judgment briefing deadlines between August 29
and September 12 and, as you know, a reply brief also due on September 12 (in the PFAS case for
which you’re counsel). That’s in addition to the Labor Day holiday and a personal day that I have on
September 9. I will need, as a professional courtesy, a short extension. Assuming plaintiffs file a motion
on Monday, will plaintiffs agree to an enlargement of EPA’s time to respond to September 21?


Finally, I understand that you contacted Dr. Wolfe at NIEHS regarding this litigation. We request that
you please coordinate communications with federal agencies regarding this case through the Justice

                                                                                                        Page 2 of 7
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Department.

Thanks very much.

Best,
Brandon
_____
Brandon N. Adkins
United States Department of Justice
Environment and Natural Resources Division
(202) 616-9174 | brandon.adkins@usdoj.gov

From: Michael Conne: <mconne:@waterskraus.com>
Sent: Thursday, August 25, 2022 3:06 PM
To: CainVc, Paul (ENRD) <Paul.CainVc@usdoj.gov>
Cc: Adkins, Brandon (ENRD) <Brandon.Adkins@usdoj.gov>; Kay Reeves <kreeves@waterskraus.com>
Subject: [EXTERNAL] Re: FWW v EPA - NTP Report

Brandon & Paul –

I have now spoken with my clients about the issues we discussed during our meet and confer on Tuesday. My
clients wish to proceed by ﬁling a moVon on Monday that asks the Court to lig the stay and schedule a
second trial where it can hear an update on the state of the science from both side’s experts.

During our call, you indicated that EPA may be similarly interested in liging the stay, but that EPA would likely
want the Court to rule on the record as is, without hearing addiVonal tesVmony. Have you had a chance to
conﬁrm whether this is the Agency’s posiVon?

Thanks,
Michael



Michael Connett | Partner
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From: CainVc, Paul (ENRD) <Paul.CainVc@usdoj.gov>
Date: Monday, August 22, 2022 at 4:17 PM
To: Michael Conne: <mconne:@waterskraus.com>
Cc: Adkins, Brandon (ENRD) <Brandon.Adkins@usdoj.gov>, Kay Reeves <kreeves@waterskraus.com>
Subject: RE: FWW v EPA - NTP Report

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